Case 3:17-cv-00072-NKM-JCH Document 978-1 Filed 06/11/21 Page 1 of 5 Pageid#:
                                 16356




                   EXHIBIT A
Case 3:17-cv-00072-NKM-JCH Document 978-1 Filed 06/11/21 Page 2 of 5 Pageid#:
                                 16357




                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



 DECLARATION OF THOMAS BAKER IN SUPPORT OF PLAINTIFFS’ SUBMISSION
         REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
Case 3:17-cv-00072-NKM-JCH Document 978-1 Filed 06/11/21 Page 3 of 5 Pageid#:
                                 16358



         I, Thomas Baker, declare as follows:

         1.      I am a Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-cv-00072-

 NKM.

         2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

         3.      The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.      I am a resident of Charlottesville, Virginia. I have lived in Charlottesville,

 Virginia since approximately May 2017.

         5.      I am employed as a conservation biologist by Nelson Byrd Woltz, a company

 located in Charlottesville. My employment requires a sophisticated workplace infrastructure,

 which allows me to work with oversize architectural drawings and geospatial issues. It is critical

 that I have ready access to my office’s computer server system, as well as access to sophisticated

 printing capabilities and special monitors. In addition, due to the injuries I sustained in

 Charlottesville in August 2017, I require a stand-up desk that allows me to relieve the physical

 stress and pain in my hip.        It would be impossible for me to replicate this workplace

 infrastructure on a temporary basis during a trial outside of Charlottesville.

         6.       Travelling to Lynchburg or Roanoke on a daily basis would itself be nearly

 impossible. My wife and I only own one vehicle. We reside just outside of Charlottesville, and

 she would need to use that vehicle to commute to work, to pick up groceries, to run daily errands

 and for other needs. Moreover, driving for extended periods, which would be required for a trial

 in Lynchburg or Roanoke, would exacerbate the injuries I sustained in my hip, causing me severe
Case 3:17-cv-00072-NKM-JCH Document 978-1 Filed 06/11/21 Page 4 of 5 Pageid#:
                                 16359



 pain.

         7.      Travelling to Lynchburg or Roanoke would further interfere with important

 aspects of my medical care. I have developed a precise exercise routine specifically designed

 to minimize the pain in my hip. If I do not regularly follow this routine, my hip becomes very

 painful. The gym I use in Charlottesville has specialized equipment that allows me to conduct

 this routine. In my experience, other gyms usually lack the equipment I need to conduct my

 exercise routine. In addition, I have recently begun seeing a massage therapist based in

 Charlottesville to ease the pain of my injuries.

         8.      Travelling to Lynchburg or Roanoke also would physically separate me from my

 wife, who is my primary support system. Being separated from my wife during the trial would

 be unbelievably difficult for me, as her support will be critical throughout the process. It would

 also not be possible for my wife to accompany me outside Charlottesville, as her employment

 likewise requires her to remain in Charlottesville.

         9.      Travelling to Lynchburg or Roanoke also would raise substantial concerns

 regarding my wife’s safety, as well as my own. If I were to be separated from my wife during

 the trial, I would be extremely concerned and stressed regarding her safety. In addition, my wife

 and I have made substantial investments in a security system in our home in Charlottesville

 following the events in question, and conducting the trial in Charlottesville would allow us to

 use that system.

         10.     It is incredibly important to me that the trial occur in Charlottesville. I do not

 have any historical or family ties to this city, having moved here for work reasons. All of my

 memories of Charlottesville are now associated with the events in question. My entire identity

 in Virginia is tied to those events and this place. I still work on the street in which I was seriously




                                                    3
Case 3:17-cv-00072-NKM-JCH Document 978-1 Filed 06/11/21 Page 5 of 5 Pageid#:
                                 16360



 injured. It is pivotal to me on a personal level that this trial be resolved in Charlottesville.

         11.     It is substantially more convenient for me, particularly given the requirements of

 my employment workspace and my concerns regarding my own and my wife’s safety, for trial

 in Sines v. Kessler to be held in Charlottesville. It would be nearly impossible for me to replicate

 my workspace infrastructure outside of Charlottesville.          Conducting the trial outside of

 Charlottesville also would separate me from my wife and my primary support system, and would

 cause me to fear for her safety, as well as my own.

         12.     I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 10, 2021 in Charlottesville, Virginia.



                                       ____________________________
                                       Thomas Baker




                                                   4
